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                          IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO




   ARMANDO ROGGIO, an individual,
                                                          Case No.: 1:18-cv-169
                          Plaintiff,

   v.                                                     COMPLAINT AND DEMAND FOR
                                                          JURY TRIAL
   ELMORE COUNTY SHERIFF, a public
   entity; CHIEF DEPUTY MICHAEL
   BARCLAY, in his official and individual
   capacity; SERGEANT STEVE BURNETT, in
   his official and individual capacity,

                          Defendants.



        COMES NOW, Plaintiff, Armando Roggio, by and through his counsel of record, FISHER

RAINEY HUDSON, and hereby complains and alleges as follows:

                                   JURISDICTION AND VENUE

        1.      This Court has jurisdiction over the federal civil rights propounded herein pursuant

to 28 U.S.C. §§ 1331 and 1343.


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       2.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because Defendants

are located in, and all incidents, events and occurrences giving rise to this action took place in, the

County of Elmore, Idaho.

                                             PARTIES

       3.        At all relevant times, Armando Roggio (“Mr. Roggio”) was a resident of Canyon

County, Idaho.

       4.        Defendant Elmore County Sheriff’s Office (“Elmore County Sheriff”) is a local

governmental entity in Elmore County, Idaho.

       5.        Defendant Deputy Michael Barclay was the Elmore County officer that pulled over

Mr. Roggio and the driver of the automobile, Allex Scheuffele (“Mr. Scheuffele”). Deputy Barclay

violated Mr. Roggio’s constitutional rights by delaying and deviating him without reasonable

suspicion.

       6.        Sergeant Steve Burnett was the Elmore County Patrol Sergeant and canine handler

who arrived at the location of the stop. He violated Mr. Roggio’s constitutional rights by delaying

and deviating him without reasonable suspicion.

       7.        Elmore County Sheriff, Deputy Michael Barclay and Sergeant Steve Burnett are

referred to collectively herein as the “Elmore County Defendants.”

                                  GENERAL ALLEGATIONS

       8.        On December 14, 2016, shortly before 1:00 a.m., Deputy Barclay pulled over a

silver Dodge Journey for speeding. The vehicle was being driven by Mr. Scheuffele, but belonged

to Mr. Roggio.

       9.        After speaking with Mr. Roggio and Mr. Scheuffele, Deputy Barclay returned to

his police vehicle and prepared to pull Mr. Scheuffele out of the car to perform sobriety tests.




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       10.      While at his police vehicle, Deputy Barclay radioed to Sergeant Burnett that, “this

might be a good one to walk the dog.” At this time, Deputy Barclay did not suspect that there were

any illegal substances in the vehicle.

       11.      Deputy Barclay re-approached the vehicle and asked several questions that he had

already asked during his first interaction. At this time, he was still waiting for Sergeant Burnett to

arrive with the canine.

       12.      Deputy Barclay visited his police vehicle again. He then returned to perform several

tests on Mr. Scheuffele to determine if Mr. Scheuffele was under the influence of drugs or alcohol.

       13.      During Deputy Barclay’s testing Sergeant Burnett arrived on scene.

       14.      Mr. Scheuffele passed all tests conducted by Deputy Barclay, indicating that he was

not under the influence of drugs or alcohol. Deputy Barclay believed that Mr. Scheuffele was safe

to continue driving.

       15.      After all other tests were completed, Deputy Barclay had Mr. Scheuffele blow into

his hand in an attempt to detect the scent of alcohol or drugs. No such scents were detected. At this

point, Deputy Barclay did not believe there were any illegal substances in the vehicle.

       16.      Throughout the traffic stop, Deputy Barclay proceeded to question Mr. Scheuffele

about whether any illegal substances were inside the vehicle, despite Mr. Scheuffele’s responses

and demonstrations that he was not currently under the influence.

       17.      Deputy Barclay and Sergeant Burnett searched Mr. Roggio’s vehicle.

       18.      Deputy Barclay proceeded to repeatedly delay and deviate from the stop’s purpose

until he found the evidence he was looking for.

       19.      Mr. Scheuffele and Mr. Roggio were placed under arrest and booked in the Elmore

County Jail.




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       20.       Mr. Roggio pleaded not guilty to all charges, maintaining that the Elmore County

officers violated his Fourth Amendment rights.

       21.       He remained in jail for twenty-one (21) days, until January 4, 2017.

       22.       During the twenty-one (21) days Mr. Roggio was in jail, he was terminated from

his job, and he was unable to provide or care for his pregnant wife and 2-year-old daughter.

       23.       Following a suppression hearing on April 24, 2017, Mr. Roggio and Mr.

Scheuffele’s criminal cases were dismissed by motion of the Elmore County Prosecutor on August

28, 2016.

                                      CAUSES OF ACTION

                                FIRST CLAIM FOR RELIEF
                                UNREASONABLE SEIZURE
                          (42 U.S.C. § 1983 – U.S. Const. Amend IV)
              [Against Elmore County Sheriff, Deputy Barclay and Sergeant Burnett]

       24.       Mr. Roggio hereby incorporates and re-alleges all previous paragraphs of this

Complaint as if fully set forth herein.

       25.       Deputy Barclay and Sergeant Burnett are persons as that term is used under 42

U.S.C. § 1983.

       26.       Deputy Barclay in his individual capacity and/or as the final decision-making

authority on behalf of the Elmore County Sheriff, was acting under the color of law when engaging

in the actions set forth in paragraphs 8-23 above.

       27.       Sergeant Burnett in his individual capacity and/or as the final decision-making

authority on behalf of the Elmore County Sheriff, was acting under the color of law when engaging

in the actions set forth in paragraphs 8-23 above.




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       28.      The acts described in paragraphs 8-23 above by Deputy Barclay and the Elmore

County Sheriff, deprived Mr. Roggio of his right to be free from an unreasonable seizure under

the United States Constitution.

       29.      The acts described in paragraphs 8-23 above by Sergeant Burnett and the Elmore

County Sheriff, deprived Mr. Roggio of his right to be free from an unreasonable seizure under

the United States Constitution.

       30.      A seizure of Mr. Roggio’s person and property was conducted, authorized, and/or

directed by Deputy Barclay and Sergeant Burnett in both their individual capacity and in their

capacity as final policy makers for the Elmore County Sheriff.

       31.      Mr. Roggio’s person and property, including but not limited to his vehicle, his cell

phone and his cash were seized without lawful authority when they were taken due to the actions

of Deputy Barclay and Sergeant Burnett in both their individual capacity and in their capacity as

final policy makers for all Elmore County Defendants.

       32.      The seizure of Mr. Roggio’s person and property by, or at the direction of, Deputy

Barclay and Sergeant Burnett in both their individual capacity and in their capacity as final

policy makers for all Elmore County Defendants, was unreasonable as officers did not have valid

consent or reasonable suspicion to prolong the traffic stop or conduct the subsequent search.

       33.      As a result of the unlawful seizure, Mr. Roggio suffered damages in an amount to

be determined at trial.

       34.      Additionally, due to the wanton and outrageous conduct of Defendants, and each

of them, Mr. Roggio asks that punitive damages be imposed against Defendants Deputy Barclay,

Sergeant Burnett and the Elmore County Sheriff in amounts to be determined by the enlightened

conscience of the jury.




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                                COSTS AND ATTORNEY FEES

       Mr. Roggio’s claims arise from violations of 42 U.S.C. § 1983. As an action to enforce

this provision and vindicate a violation of civil rights, Mr. Roggio is entitled to an award of

reasonable costs of suit and attorney fees in an amount deemed reasonable by this Court pursuant

to 42 U.S.C. § 1988 in the event he is the prevailing party.

       Mr. Roggio’s claims arise from allegations that a state agency or political subdivision

and/or individual employees acting in their official capacity on behalf of a state agency or political

subdivision acted without a reasonable basis in fact or law.

                                  DEMAND FOR JURY TRIAL

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Mr. Roggio hereby demands

a trial by jury on all issues properly tried by a jury in the above-entitled matter.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against the Defendants as follows:

           a. For general damages in an amount to be proven at trial;

           b. For special damages in an amount to be proven at trial;

           c. That punitive damages be imposed against Defendants in their organizational and

               individual capacities according to proof and in an amount to be determined by the

               enlightened conscience of the jury;

           d. For costs of suit, including reasonable attorneys’ fees; and

           e. For such other and further relief as this Court deems just and equitable.

       DATED this 17th day of April, 2018.

                                                       FISHER RAINEY HUDSON


                                                       /s/ Jeremiah Hudson
                                                       Attorney for Plaintiff


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